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2                                 UNITED STATES DISTRICT COURT

3                                       DISTRICT OF NEVADA

4                                                   ***

5      ORACLE INTERNATIONAL                           Case No. 2:14-CV-1699-MMD-DJA
       CORPORATION ET AL
6                                                          JUDGE MIRANDA M. DU’S ORDER
                                      Plaintiffs,         REGARDING BENCH TRIAL IN CIVIL
7             v.                                                     CASES

8      REMINI STREET INC. ET AL

9                                  Defendants.

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11       1.        This case is scheduled for trial before the Honorable Miranda M. Du. Chief

12     United States District Judge, at Las Vegas, Nevada on November 29, 2022 at 9:00 AM

13    in Las Vegas Courtroom 4B. This is firm trial date.

14       2.        WITNESSES: Counsel shall immediately subpoena all witnesses for the time

15     and trial date as listed above. Inasmuch as the cases will be tried in a trailing fashion,

16    the subpoenas should contain a special instruction from counsel directing witnesses to

17    contact the office of counsel for further instructions prior to appearing for trial. Witnesses

18    are not required to be present at the Calendar Call but must appear as subpoenaed.

19    Counsel and parties appearing pro se must file their witness list one week before trial.

20       3.        EXHIBITS: One week before trial, counsel must electronically file their

21    complete exhibit list of all exhibits that are intended to be used during the trial. At the

22    same time, counsel must serve upon opposing counsel a copy of the same. Oracle shall

23    use the designation P and numerals 1 through 3000.            Remini Street shall use the

24    designation D and numerals 3000 and above. If Oracle has greater than 3000 exhibits,

25    the exhibit numbering can be adjusted. The exhibits are to be listed on a form provided

26    by the Clerk’s Office, and they may be computer generated if they conform to the

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1     requirements of the form that is provided by the Clerk. 1 The Court uses the Jury Electronic

2     Recording System (“JERS”. ) At least five (5) calendar days before trial, the parties must

3     provide the Courtroom Administrator in Reno with electronic media (e.g. CD, thumb drive,

4     or hard drive) that contains images of all the exhibits counsel intend to use.. Counsel

5     should retain copies of their exhibits for use by the witness in the courtroom if needed. If

6     the parties expect they will use many voluminous exhibits or are otherwise concerned

7     about the presentation of exhibits at trial, they must immediately file a joint motion

8     requesting a status conference with the Court and notify the Courtroom Administrator

9     when they have done so.

10        4.         MARKING EXHIBITS: During preparations for trial, counsel for all parties must

11    meet, confer, pre-mark and exchange all trial exhibits. At least five (5) calendar days

12    before trial, counsel in civil cases must notify Judge Du’s Courtroom Administrator that

13    the exhibits have been pre-marked.

14        5.         EVIDENCE DISPLAY EQIUPMENT: Counsel wishing to utilize the Court’s

15    evidence display must contact the Courtroom Administrator to determine its availability

16    and to arrange for training. Counsel wishing to utilize their own display equipment must

17    contact the Courtroom Administrator to arrange a time and date to set up the equipment

18    prior to the trial.

19        6.         TRIAL BRIEFS AND RELATED FILINGS One week before trial, the parties

20    must file: (1) trial briefs; (2) stipulated facts; and (3) proposed findings of fact and

21    conclusions of law. At the same time, the parties must provide a copy of the same in MS

22    Word         format   to   chambers,   by   email   to   the   Courtroom   Administrator,   at

23    Peggie Vannozzi@nvd.uscourts.gov

24        7.         TRIAL SCHEDULE: Trial will be held as previously ordered:

25                      a) 8:30 am to 2:00 pm on Mondays, Thursdays and Fridays;

26                      b) 8:30 am to 4:30 pm on Tuesdays and Wednesdays.

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               Exhibit list forms can be found at                www.nvd.uscourts.gov/forms.aspx
28    under “exhibit list.”
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1                    c) lunchtimes will be limited to 30 minutes each day.

2        8.      SANCTIONS: As provided for under the Local Rules of Practice of this court,

3     the Court will consider the imposition of sanctions against any attorney who: (1) fails to

4     timely file trial briefs or proposed findings of fact and conclusions of law, whichever is

5     applicable, as prescribed in the Pretrial Order, Order Regarding Pretrial Procedure,

6     Scheduling Order or any order extending the time for such filings; (2) fails to comply with

7     any provision of this order including, but not limited to, the failure to appear for calendar

8     call without first having been excused by the Court or the clerk with the permission of the

9     Court; or (3) fails to timely comply with any other order that schedules deadlines for trial

10    preparation.

11       9.      CONTACT PERSON: All questions and information regarding the trial calendar

12    are to be directed to PEGGIE VANNOZZI, Courtroom Administrator.

13       10.     The date of the Clerk’s File Mark shall constitute the date of this order.

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               IT IS SO ORDERED.
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17                                               MIRANDA M. DU
                                                 CHIEF UNITED STATES DISTRICT JUDGE
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